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     United States Attorney
2
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     District of Columbia Bar No. 1019788
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7    Daniel.Greene@usdoj.gov
8
  Attorneys for Plaintiff
9 UNITED STATES OF AMERICA

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11
                                 UNITED STATES DISTRICT COURT

12
                           SOUTHERN DISTRICT OF CALIFORNIA
      UNITED STATES OF AMERICA,                           Case No.: 20mj4606-AHG
13
                    Plaintiff,
14
            v.                                             NOTICE OF APPEARANCE
15
      AARON DAVID FARRELL,
16
                    Defendant.
17

18

19
                 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD

20
           I, the undersigned attorney, enter my appearance as lead counsel for the United

21
     States in the above-captioned case. I certify that I am admitted to practice in this court

22
     or authorized to practice under CivLR 83.3.c.3-4.

23
           The following government attorneys (who are admitted to practice in this court

24
     or authorized to practice under CivLR 83.3.c.3-4) are also associated with this case,

25
     should be listed as lead counsel for CM/ECF purposes, and should receive all Notices

26
     of Electronic Filings relating to activity in this case:

27
                   Name

28
                   None.
       Case 3:20-mj-04606-AHG Document 14 Filed 11/23/20 PageID.13 Page 2 of 3




1          Effective this date, the following attorneys are no longer associated with this
2    case and should not receive any further Notices of Electronic Filings relating to
3    activity in this case (if the generic “U.S. Attorney CR” is still listed as active in this
4    case in CM/ECF, please terminate this association):
5                 Name
6                 Nelson Francisco Candelario, Jr.
7                 Please feel free to call me if you have any questions about this notice.
8          DATED: November 23, 2020.
9                                                           Respectfully submitted,
10                                                          ROBERT S. BREWER, JR.
                                                            United States Attorney
11

12                                                          s/ Daniel K. Greene
                                                            DANIEL K. GREENE
13
                                                            Assistant U.S. Attorney
14                                                          Attorneys for Plaintiff
15
                                                            UNITED STATES OF AMERICA

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 2
                        UNITED STATES DISTRICT COURT
 3
                     SOUTHERN DISTRICT OF CALIFORNIA
 4
     UNITED STATES OF AMERICA,                            Case No.: *
 5
                Plaintiff,
 6
          v.                                      CERTIFICATE OF SERVICE
 7
     *,
 8
                Defendant.
 9

10

11        I, the undersigned declare under penalty of perjury, that I am over the
12 age eighteen years and I am not a party to the above-entitled action; that I

13 served the following document: Notice of Appearance, in the following

14 manner: by electronically filing with the U.S. District Court for the Southern

15 District of California using its ECF System.

16        Dated: November 23, 2020.
17
                                                   Respectfully submitted,
18
                                                   ROBERT S. BREWER, JR.
19                                                 United States Attorney

20                                                 s/ Daniel K. Greene
21                                                 Daniel K. Greene
                                                   Assistant U.S. Attorney
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